                Case: 3:15-cr-00038-jdp Document #: 210 Filed: 11/20/17 Page 1 of 1


                                         COURTROOM MINUTES
                                     SENTENCING / JUDICIAL REVIEW

        11/20/2017                   Monday                                   1:43 PM                             3:41 PM
DATE: ____________          DAY: ______________        START TIME: ______________             END TIME: ______________
                    JDP                                            ARW                                           CS
JUDGE/MAG.: ___________________             CLERK: _____________________             REPORTER: ____________________
                              Richard Williams
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
              15-cr-38-jdp, 17-cr-105-jdp
CASE NUMBER: _______________________                        Richard Ugbah
                                          CASE NAME: USA v. _____________________________________


APPEARANCES:
      Meredith Duchemin
AUSA: ____________________________________                 DEFENDANT ATTY.: Daniel Sanders
                                                                            ________________________________
       Antonio Trillo
       ____________________________________                                          ________________________________
                                                           DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                                29
       TOTAL OFFENSE LEVEL: __________                                                 I
                                                       CRIMINAL HISTORY CATEGORY: __________
                                                  87            108
       ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                See Below
COUNT(S) _______________:             INDICTMENT             INFORMATION
CBOP CT. _______;       ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
       CT. _______;     ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
       VOLUNTARY SURRENDER: _______________ between __________ and __________;
       RELEASE CONDITIONS CONTINUED.
       DETAINED.


ACTIONS:
       PLEA AGREEMENT ACCEPTED
       DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
       DEFENDANT ADVISED OF RIGHT TO APPEAL
       GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
       REVOKED


NOTES:
 Recess from 3:00 - 3:16
_________________________________________________________________________________________________
Sentences are concurrent: Case No. 15-cr-38-jdp, Count 4s, 144 months CBOP, 3 years S/R, $100 C/A, Restitution TBA;
_________________________________________________________________________________________________
 Case No. 17-cr-105-jdp, Count 1 of the Information, 144 months CBOP, 3 years S/R, $100 C/A, Restitution TBA
_________________________________________________________________________________________________
                                                                                                             1' 42"
                                                                                        TOTAL COURT TIME: __________
